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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE



    In re:                                                          Chapter 11

    FTX TRADING LTD., et al.,1                                      Case No. 22-11068 (JTD)

               Debtors.                                             (Jointly Administered)


    FTX TRADING LTD., ISLAND BAY
    VENTURES, INC., and CLIFTON BAY
    INVESTMENTS LLC f/k/a ALAMEDA
    RESEARCH VENTURES LLC,

                                       Plaintiffs,                  Adv. Pro. No. 24-50209 (JTD)

                      - against -

    SKYBRIDGE CAPITAL II, LLC, SKYBRIDGE
    GP HOLDINGS LLC, DIGITAL MACRO FUND
    LP f/k/a SKYBRIDGE COIN FUND LP, SALT
    VENTURE GROUP LLC, ANTHONY
    SCARAMUCCI, and BRETT MESSING,

                                       Defendants.


              CERTIFICATE OF NO OBJECTION REGARDING THE
       DEFENDANTS’ MOTION TO EXCEED THE PAGE LIMIT WITH RESPECT
       TO THE MEMORANDUM OF LAW IN SUPPORT OF THE DEFENDANTS’
        MOTION TO COMPEL ARBITRATION AND TO DISMISS AND/OR STAY

             The undersigned hereby certifies that on January 24, 2025, Defendants SkyBridge Capital

II, LLC, SkyBridge GP Holdings LLC, Digital Macro Fund LP f/k/a SkyBridge Coin Fund LP,

SALT Venture Group LLC, Anthony Scaramucci, and Brett Messing (collectively, the

“Defendants”), in the above-captioned adversary proceeding (the “Adversary Proceeding”), filed



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  The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification numbers are 3288 and
4063, respectively. Due to the large number of debtor entities in these chapter 11 cases, a complete list of the Debtors
and the last four digits of their federal tax identification numbers is not provided herein. A complete list of such
information may be obtained on the website of the Debtors’ claims and noticing agent at
https://cases.ra.kroll.com/FTX.

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the Defendants’ Motion to Exceed the Page Limit with Respect to the Memorandum of Law in

Support of the Defendants’ Motion to Compel Arbitration and to Dismiss and/or Stay [D.I. 25]

(the “Motion”) with the United States Bankruptcy Court for the District of Delaware (the “Court”).

         Attached to the Motion as Exhibit A was a proposed form of order approving the relief

requested in the Motion (the “Proposed Order”). Pursuant to Rule 7007-1(a) of the Local Rules of

the United States Bankruptcy Court for the District of Delaware, any response or objection to the

relief requested in the Motion was to be filed and served no later than February 7, 2025 (the

“Response Deadline”).

         The undersigned further certifies that as of the Response Deadline, no answer, objection, or

other responsive pleading to the Motion was received by the Defendants or has appeared on the

Courts’ docket in this case.

         WHEREFORE, the Defendants respectfully request that the Proposed Order, attached to

the Motion, be entered at the earliest convenience of the Court.



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Dated: February 12, 2025
Wilmington, Delaware
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                                  -and-

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